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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   ALEJANDRO RODRIGUEZ,                  ) Case No. CV-07-3239-TJH (RNBx)
     ABDIRIZAK ADEN FARAH,                 )
11   YUSSUF ABDIKADIR, ABEL PEREZ          ) [PROPOSED] ORDER GRANTING
     RUELAS, JOSE FARIAS CORNEJO,          ) PETITIONERS’ MOTION FOR
12   ANGEL ARMANDO AYALA, for              ) COMPLIANCE
     themselves and on behalf of a class of)
13   similarly-situated individuals,       ) Honorable Terry J. Hatter
                                           )
14                Petitioners,             )
                                           )
15                v.                       )
                                           )
16   ERIC HOLDER, United States Attorney )
     General; JANET NAPOLITANO,            )
17   Secretary, Homeland Security;         )
     THOMAS G. SNOW, Acting Director, )
18   Executive Office for Immigration      )
     Review; TIMOTHY ROBBINS, Field        )
19   Office Director, Los Angeles District )
     Immigration and Customs Enforcement; )
20   WESLEY LEE, Officer-in-Charge, Mira )
     Loma Detention Center; et al.;        )
21   RODNEY PENNER, Captain, Mira          )
     Loma Detention Center; SANDRA         )
22   HUTCHENS, Sheriff of Orange County; )
     OFFICER NGUYEN, Officer-in-           )
23   Charge, Theo Lacy Facility; CAPTAIN )
     DAVIS NIGHSWONGER, Commander, )
24   Theo Lacy Facility; CAPTAIN MIKE      )
     KREUGER, Operations Manager, James )
25   A. Musick Facility; ARTHUR            )
     EDWARDS, Officer-in-Charge, Santa     )
26   Ana City Jail; RUSSELL DAVIS, Jail    )
     Administrator, Santa Ana City Jail,   )
27                                         )
                  Respondents.             )
28
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 1         Good cause having been shown in Petitioners’ Motion for Compliance, the
 2   motion is hereby GRANTED.
 3         This Court issued an Order granting Petitioners’ Motion for Summary
 4   Judgment on August 6, 2013 (Dkt. 353). Respondents have failed to comply with
 5   that Order in several respects.
 6         First, Respondents currently employ a notice that includes only the date, time
 7   and location of the bond hearing, which is less information than the Casas notice the
 8   Court found constitutionally deficient. The current notice is not written in “plain
 9   language” and does not notify class members regarding the nature of the
10   determination to be made at the hearing or of class member’s rights. It is hereby
11   ORDERED that Respondents must provide the notice attached to this Order for all
12   bond hearings conducted pursuant to this Court’s Order of August 6, 2013 (Dkt. 353).
13         Second, Respondents shall not exclude the following individuals from the class
14   definition: persons who satisfy the class definition whose cases have been denied by
15   the Board of Immigration Appeals (“BIA”), but remain within the 30-day period for
16   filing a petition for review. Under Prieto-Romero v. Clark, 534 F.3d 1053 (9th Cir.
17   2008), such individuals remain class members because the “removal period” under 8
18   U.S.C. § 1231(a)(1) does not begin until after a noncitizen waives their right to appeal,
19   whether affirmatively or through in action within the 30-day period. This Court also
20   finds that Respondents failed to notify Petitioners of this exclusion in violation of the
21   August 6, 2013 Order (Dkt. 353).
22         Accordingly, Respondents do not have legal authority to remove these
23   individuals under 8 U.S.C. § 1231(a)(1) until the time to appeal lapses or a waiver
24   occurs. It is hereby ORDERED that the class includes detainees whose cases have
25   been denied by the BIA, but who remain within the 30-day period for filing an appeal
26   and have not affirmatively waived their right to appeal.
27         In light of the fact that Respondents have continued to exclude class members
28   without leave of the Court and without the notice that this Court previously ordered, it

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 1   is hereby ORDERED that Respondents must submit a declaration from a person most
 2   knowledgeable either: (1) confirming that no other exclusions exist beyond the four
 3   identified to date by class counsel; or (2) identifying (a) each and every purported
 4   exception that Respondents believe entitles them to detain class members for longer
 5   than six month without a bond hearing, (b) the basis for each and every such
 6   exclusion, and (c) the individuals impacted by each and every such exclusion since
 7   this Court’s preliminary injunction or the Order, as applicable. The declaration must
 8   be submitted no later than two weeks from the date of this Order.
 9         In light of Respondents’ pattern of non-compliance, Respondents are required
10   to disclose sufficient information for Petitioners and this Court to determine if there
11   have been other violations of this Court’s Orders. Accordingly, it is hereby
12   ORDERED that Respondents:
13      1. Shall disclose the following information concurrent with each status report
14         required under the August 6, 2013 Order (Dkt. 353): whether each detainee on
15         whom information is provided was found eligible for a Rodriguez hearing; the
16         outcome of any appeal of a bond decision; whether a class member actually
17         bonded out from detention (including the date on which the bond was posted,
18         the date of the class member’s release, and contact information for the class
19         member and/or his attorney if Respondents possess it).
20      2. Shall produce to class counsel copies of the electronic recordings of class
21         members’ bond hearings that have occurred on or before the date of this Order,
22         within 30 days of this Order.
23      3. Shall make available for inspection class members’ immigration court files
24         upon Petitioners’ request in the same manner and subject to the same conditions
25         as when requested by individual class members, and without the need for a
26         Freedom of Information Act request.
27         Respondents shall disclose the information required under (1) and (2) for all
28   class members who received a bond hearing under the preliminary or permanent

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 1   injunction. To the extent that there is “confidential” or “highly confidential”
 2   information contained in these records, Respondents may produce such information
 3   subject to the terms of the protective order entered in this case. This Order is being
 4   granted without prejudice to future requests for information pertinent to monitor
 5   compliance. Moreover, the Court hereby notifies Respondents that any further
 6   instances of noncompliance could result in sanctions, including but not limited to the
 7   striking of defenses or adverse inferences.
 8         It is so ORDERED.
 9
     Dated: November____, 2013                         _________________________________
10                                                     HONORABLE TERRY J. HATTER, JR.
                                                       United States District Court Judge
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                                   IMMIGRATION COURT
                           [ADDRESS OF IMMIGRATION COURT]

           NOTICE OF BOND HEARING UNDER RODRIGUEZ V. ROBBINS
[DETAINEE/LAWYER ADDRESS]

FILE: [A NUMBER]
RE:    [DETAINEE NAME]
Your case has been scheduled for a Rodriguez bond hearing in immigration court on: [date/time]
at the following address: [address of immigration court].

At the bond hearing, the Department of Homeland Security (DHS) is required to prove, by clear
and convincing evidence, that you are either a “flight risk” or a “danger to society” in order to
keep you detained. To show that you are a flight risk, the government must show that you are
not likely to appear for future immigration hearings or for deportation (if you are ordered
deported). The government must also show that alternatives to detention, including bond,
supervised release, or electronic monitoring, would not ensure that you appear for all your court
hearings. To show that you are a danger, the government must show that your release would
harm property or persons.
At the hearing, you have the right to present any evidence to show why you should be released,
including any documents or witnesses (such as relatives and friends) who can explain why you
are not a flight risk or danger. You may also testify at the bond hearing. You may submit
statements or letters from friends and family if they are not able to attend the bond hearing in
person. You may submit documents either at your hearing, or by mailing them to the
immigration court before your hearing.
The immigration judge may consider one or more of the following factors at the bond hearing:

      Whether you have a fixed address in the United States, including where you will live if
       you are released;
      How long you have lived in the United States;
      Your family ties in the United States;
      Your employment history, education, community involvement;
      Any property you own;
      Your record of appearing in immigration court;
      Any reason for why you are likely to attend future hearings and comply with a
       deportation order (if you are ordered deported);
      Your criminal history, including any arrests, convictions, warrants, or restraining orders;
      Any history of immigration violations, including previous removals;
      Any attempts to flee prosecution or escape from the authorities;
      What steps you have taken to take responsibility and change from any criminal history;
      Your behavior (good and bad) while you were detained;
      The strength of your immigration case; and

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      Your willingness to comply with other conditions of supervision, including electronic
       monitoring, and the amount of bond you would be able to pay.
You may be represented in this proceeding, at no expense to the government, by an attorney or
other individual authorized and qualified to represent persons before an immigration court. Your
lawyer or representative should appear with you at the hearing.
At the end of the bond hearing, the judge will announce a decision and ask you if you want to
appeal. If you disagree with the judge’s decision, including the amount of any bond the judge set
or any other conditions imposed by the judge, you can say “yes” to appeal the determination. To
appeal, you must then file form EOIR-26 with the Board of Immigration Appeals (BIA). The
appeal form must be received by the BIA within thirty days of the immigration judge’s decision.

       Appeals to the BIA should be filed at the following address:

              Appeals sent by overnight mail must be mailed to:
                     Board of Immigration Appeals
                     Clerk’s Office
                     5107 Leesburg Pike, Suite 2000
                     Falls Church, VA 22041

              Appeals sent by regular mail should be mailed to:
                     Board of Immigration Appeals
                     Clerk’s Office
                     P.O. Box 8530
                     Falls Church, VA 22041
You may contact one of the providers on the attached sheet(s) of paper for further information
about the bond hearing or to learn about free legal representation.



                               CERTIFICATION OF SERVICE
This document was served by MAIL (M) or PERSONAL SERVICE (P) TO:
[ ] ALIEN
[ ] ALIEN c/o Custodial Officer
[ ] ALIEN’s ATT/REP
[ ] DHS

DATE served: ______________________
BY: ________________________ Title:            __________________________

Attachments:
[ ] EOIR-33
[ ] EOIR-28
[ ] Legal Services List
[ ] Other: ______________

                                                2
